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                Application for Trustee Compensation Page 1 of 4

                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION

In Re:                                               Case No.: 16-20092-JRS

NANCY GODWIN HAMBY,                                  Chapter:    7

                                    Debtor(s)        Honorable JAMES R. SACCA
Field 223
               FINAL APPLICATION OF TRUSTEE FOR COMPENSATION

         COMES NOW, Albert F. Nasuti, Chapter 7 Trustee, pursuant to 11 U.S.C. §330, and

respectfully shows that the assets of this estate have been liquidated, and the Trustee had

$39,807.59 for disbursement to creditors during his tenure as the Chapter 7 Trustee. The

statutory fee is calculated on the amount of $19,060.59, representing total funds brought into the

estate in the amount of $39,807.59, less the Debtor's allowed and claimed exemption of

$20,747.00.

         In the administration of said estate, the Trustee has performed those services required by

a Trustee within the time frame of March 26, 2018 and December 21, 2018.

         The Trustee believes his services to be reasonable in the amount of $14,178.50. The

statutory allowance is $2,656.06. The Trustee has not previously received any compensation.

         The Trustee has not in any form or guise agreed to share the compensation for such

services with any person not contributing thereto, or to share in the compensation of any person

rendering services in this proceeding to which services applicant has not contributed (other than

a law partner or forwarding Attorney at Law).           Your applicant has not entered into any

agreement, written or oral, express or implied, with any other party in interest or any attorney of

any other party in interest in this proceeding for the purpose of fixing the amount of the fees or

other compensation to be paid to any party in interest, or any attorney of any party in interest

herein for services rendered in connection therewith.
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       The Trustee has advanced the following expenses properly chargeable to the estate, none

of which have been repaid, and for which the Trustee requests reimbursement:

        Xerox copies                                                                  $18.30
        Mileage                                                                       $87.58
        Postage (Actual)                                                              $39.53
                                            TOTAL                                    $145.41


       WHEREFORE, Albert F. Nasuti, the Chapter 7 Trustee, respectfully moves this Court for

the entry of an Order allowing compensation for the Chapter 7 fees in the amount of $2,656.06,

reimbursement of expenses in the amount of $145.41, and any other relief the Court may deem

appropriate.


       Dated this 21th day of December, 2018.


                                                     /s/ Albert Nasuti
                                                    Albert F. Nasuti, Chapter 7 Trustee
                                                    Georgia Bar No. 535209
                                                    Thompson, O'Brien, Kemp & Nasuti, P.C.
                                                    40 Technology Parkway South, Suite 300
                                                    Peachtree Corners, GA 30092
                                                    Tel: (770) 925-0111
                                                    anasuti@tokn.com
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION

IN RE:                                       )        CASE NO.:    16-20092-JRS
                                             )
NANCY GODWIN HAMBY,                          )        CHAPTER 7
                                             )
                                  Debtor     )        HONORABLE JAMES R. SACCA

                                      CASE NARRATIVE

         NOW COME, Albert F. Nasuti, Chapter 7 Trustee and Thompson, O’Brien, Kemp &
Nasuti, P.C., as Counsel for the Chapter 7 Trustee, and hereby file the following Case Narrative
to accompany the Trustee’s Application for Compensation and the Attorney for Trustee’s
Application for Compensation, and show the Court as follows:
         The case was filed as a Chapter 7 on January 15, 2016. The Trustee reviewed the petition
and schedules and conducted the §341 meeting of creditors. The Trustee filed a No Distribution
Report on February 23, 2016. The Debtor was discharged and the clerk closed the case on May
4, 2016.
         In late 2017, the Trustee was contacted by an attorney representing the first priority
mortgage holder on the Debtor’s former residence who advised that there was an overage from a
foreclosure sale of the Debtor’s real property. The attorney sought guidance on who was entitled
to the overage funds. The Trustee then reviewed the situation on the funds, only to determine
that the Debtor’s estranged husband (a co-owner of the subject real property) had filed his own
Chapter 7 case No. 16-73195-pmb, In Re David Lee Hamby, and it appeared his estate or
Trustee may also hold a claim to the overage funds.
         The Trustee then communicated with the attorneys for the first mortgage holder, the
second mortgage holder, and the Trustee for David Lee Hamby, Kyle Cooper. While the parties
attempted to sort out rights to the overage, the U.S. Trustee was notified and a request was made
to reopen the case. On January 25, 2018, a Motion to Reopen the case was filed and a hearing
was scheduled for March 8, 2018. The Court held a hearing on the motion and after hearing from
the Chapter 7 Trustee, reopened the case by order entered March 19, 2018 (Docket No. 18). The
Court also reopened David Lee Hamby’s case.
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          Once the respective cases were reopened the Trustee obtained a claims bar date while
concurrently protecting the estate’s interest in the funds overage 1. The Trustee also obtained
approval to pay the Debtor’s claimed exemption in the funds.                      The Trustee reviewed and
liquidated all claims. The Trustee filed all required tax returns and obtained a §505 (b) tax
clearance.
          The Trustee is now closing the case and paying a dividend to creditors. The Trustee
shows that all actions taken were necessary and proper and were in compliance with his statutory
duties.
          Respectfully submitted this 21st day of December, 2018.

                                                              /s/ Albert Nasuti
                                                               __________________________________
                                                              Albert F. Nasuti, Chapter 7 Trustee
                                                              Georgia State Bar No. 535209
                                                              Thompson, O’Brien, Kemp & Nasuti, PC
                                                              40 Technology Parkway South, Suite 300
                                                              Peachtree Corners, Georgia 30092
                                                              Tel: (770) 925-0111




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  The Debtors in both cases were subject to a Superior Court divorce order which created rights in the overage funds
and obligations to pay certain debts, which conflicted with what their respective rights may be under bankruptcy
law. As a result, the two Trustees communicated extensively and exchanged various positions on rights to the funds,
including how to deal with the mortgage holders (first and second mortgage holders) making claims to the funds.
The Trustees ultimately split the funds evenly between the two estates.
